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April 18, 2013

                                                                      Our File Number: 08Z8-134298


VIA ECF

The Honorable Samuel Conti
Senior United States District Judge
United States District Court
Northern District of California
Courtroom No. 1, 17th Fl.
450 Golden Gate Avenue
San Francisco, CA 94102


                 Re:   In re: Cathode Ray Tube (CRT) Antitrust Litigation
                       Master File No. 07-5944 Sc; MDL No. 1917


Dear Judge Conti:

                I write on behalf of all defendants participating in the Cathode Ray Tube indirect
purchaser litigation and certain of the direct action cases. We learned yesterday afternoon that
Judge Legge is ill and unavailable to undertake the hearings currently on calendar for April 29
and May 1, 2013: (1) the indirect purchaser class plaintiffs' motion for class certification; (2)
defendants' motion to exclude the opinions of plaintiffs' expert, Dr. Janet Netz; and, on the
following day, (3) motions for leave to add new parties to several direct action complaints. Of
course, all of us are distressed to hear that Judge Legge is ill and we wish him a speedy recovery.
We understand that Judge Legge intends to resume his role as Special Master after he recovers
from his illness.

                 We also understand that Your Honor currently intends to move forward with the
hearing as scheduled by appointing a new Special Master. With great respect to the Court, and
understanding the Court's desire to move the case forward, we believe the better way to address
this situation would be to continue the hearing until Judge Legge is able to hear the motions. His
familiarity with this case as it has developed over the past five years is not replaceable,
especially for motions of this complexity and importance. Judge Legge himself had blocked out
an entire day for hearing the motions for class certification and to exclude expert testimony. The
briefs, exhibits and declarations total over 6,000 pages. All of the parties felt that thorough
briefing was necessary, and the briefing page limits were the product of stipulations approved by
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the Court. The plaintiffs' three expert reports total 466 pages, and the defense expert's responses
comprise 281 pages of analysis. The length of these reports was the product of the complexity of
the issues raised, and amount of expert testimony necessary, for the indirect purchaser class
certification motion.

                The motion for class certification is well known to be the critical event in class
action litigation. The defendants believe very strongly that having the judge who is familiar with
the case, and has already had time with the papers, hear the motions is essential for the right
result. We do not believe a short delay to allow Judge Legge to participate in this key aspect of
the case would require any changes to the case schedule, and other aspects of the case, including
ongoing discovery, could proceed in the interim.

               Of course, we also recognize that sometimes there are emergencies or other
reasons why judicial re-assignments must be made. If that is the case here, we urge the Court to
continue the hearing for two critical reasons: first, any replacement for Judge Legge would need
time to review the briefs, exhibits, and expert reports before the hearing; and second, if there is to
be a new Special Master appointed, there should be time for the requirements of Rule 53 to be
followed, including the need to make certain that the new appointment does not have any
conflicts.

               If additional information would be helpful, we are available for a telephone
conference at any time convenient for the Court.

                                                     Risectfully yours,


                                                     JamescL. McGinnis

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CC:     All counsel via ECF
        Judge Charles Legge do Sarah Nevins via email
